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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                         CRIMINAL NO. 20-055

VERSUS                                           SECTION “I”
                                                 JUDGE LANCE M. AFRICK
JASON R. WILLIAMS
NICOLE E. BURDETT                                MAGISTRATE (4)
                                                 MAGISTRATE JUDGE ROBY

UNITED STATES OF AMERICA                         CRIMINAL NO. 20-139

VERSUS                                           SECTION “I”
                                                 JUDGE LANCE M. AFRICK
NICOLE E. BURDETT
                                                 MAGISTRATE (3)
                                                 MAGISTRATE JUDGE DOUGLAS

RESPONSE IN OPPOSITION TO MOTION TO COMPEL FILED BY NICOLE BURDETTE

 MAY IT PLEASE THE COURT:

        The United States, through the undersigned Assistant United States Attorney, respectfully

 submits this response in opposition to Nicole Burdette’s pending Motion to Compel (the “Motion

 to Compel”) (Doc. 231) and asks this Court to deny the motion to compel, in its entirety, for the

 reasons set forth herein.

                I. INTRODUCTION AND SUMMARY OF THE ARGUMENT

       Criminal Defendant, Nicole Burdette, issued two subpoenas for trial testimony from two

non-party federal employees, IRS Special Agent Lori Marable (“SA Marable”) and IRS

Investigative Analyst, Darin Coleman (“IA Coleman”) as well as a subpoena duces tecum for

documents in the custody of the IRS Scheme Development Center. Pursuant to the applicable

Touhy regulations for both the agency, the Internal Revenue Service (“IRS), and the Department of

Justice (“DOJ”), on July 7, 2022, the United States Attorney authorized the trial testimony of both


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federal employees, subject to certain limitations pursuant to applicable Touhy exceptions, and also

responded to the subpoena duces tecum by either noting that all responsive documents had already

been produced or citing the applicable Touhy exception to disclosure. (Doc. 373-2). Burdette has

now moved to compel the IRS to produce additional documents and testimony.

       Burdette argues three main issues in her motion to compel: (1) Touhy is not applicable and

this Court should review the pending motion pursuant to Rule 17 discovery standards; (2) Burdette

is entitled to additional testimony from SA Marable and IA Coleman beyond what was authorized

in the United States’s Touhy response letter dated July 7, 2022; and (3) Burdette is entitled to

additional documents from IA Coleman and the IRS Scheme Development Center beyond what has

already been produced in discovery and as addressed in the United States’s Touhy response letter

dated July 7, 2022.

       As discussed below, Touhy is applicable here and, as such, the appropriate standard of

review is whether the federal-agency action was “arbitrary, capricious, an abuse of discretion or

otherwise not in accordance with the law” under the Administrative Procedures Act (APA), 5

U.S.C. §706(2)(A). Furthermore, Burdette is not entitled to testimony or documents beyond what

was authorized in the United States’s Touhy response letter because additional testimony or

document production is prohibited by the regulatory privileges cited therein. Accordingly, the

United States, through the Department of Justice, has acted neither arbitrarily or capriciously in his

consideration and authorization of the trial testimony and production of documents, although

limited in scope pursuant to the cited Touhy regulations, and Burdette’s instant motion to compel

should be denied.

                          II. APPLICABLE TOUHY REGULATIONS

       Before discussing the third-party subpoena subjects of Burdette’s motion to compel, it is

critical to discuss the regulatory scheme that applies to demanding testimony and documents from
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federal agencies like the IRS. Pursuant to 5 U.S.C. § 301, many federal agencies have promulgated

so-called Touhy regulations regulating their employees’ ability to respond to third-party subpoenas

for official information. These regulations typically prohibit the unauthorized release of information

by agency employees, provide a procedure for centralized agency decision-making concerning how

the agency will respond to a subpoena for testimony or documents served on an agency employee,

and provide a procedure by which a subpoenaing litigant may obtain an agency decision.

       The validity of such regulations was considered and upheld by the Supreme Court in United

States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951) 1 . Touhy involved an FBI agent held in

contempt because, pursuant to a Department of Justice regulation, he refused to produce certain

documents subpoenaed by a state prisoner in a federal habeas corpus proceeding. The Supreme

Court affirmed the reversal of the contempt, concluding that the FBI agent’s refusal to produce

documents in contravention of the DOJ regulation was lawful, and that the regulation centralizing

decision-making was a valid exercise of Executive authority under the predecessor of the current

Housekeeping Statute. Id. at 467-68. Ever since, such regulations became known as “Touhy

regulations.”

       The DOJ Touhy regulations are found at 28 C.F.R. § 16.21, et seq. Generally speaking, no

employee of the Justice Department may produce any Justice Department material in any federal

case in which the United States is a party without consulting with the originating component (i.e.

the agency). 28 C.F.R. § 16.23(a). When information like testimony or documents are sought, the

United States Attorney shall request a summary of the information sought and its relevance to the


1
 In U.S. ex rel. Touhy v. Ragen, 340 U.S. 462, 469-70 (1951), the Supreme Court “held that the
precursor of the Justice Department regulations cited [by the Justice Department in the instant case] was
valid and that a court could not enforce a subpoena against a Justice Department employee who had
been ordered by departmental superiors not to comply with the subpoena.” Louisiana v. Sparks, 978
F.2d 226, 229 n.5 (5th Cir. 1992). There is no dispute in the instant case that the regulations are valid
and that Burdette complied with them.
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proceeding. 28 C.F.R. § 16.23(c). After a demand has been submitted, the United States Attorney

considers whether disclosure would be appropriate under the rules of procedure and whether

disclosure is appropriate under the relevant substantive law concerning privilege. 28 C.F.R. §

16.26(a). The regulations also identify a number of factors that weigh against disclosure. 28 C.F.R.

§ 16.26(b). These regulations do not create any substantive rights for litigants. 28 C.F.R. § 16.21(d).

        In this case, in addition to the DOJ Touhy regulations, the IRS has its own Touhy

regulations, 26 C.F.R. §301.9000-1 through §301.9000-6. Similar to the DOJ Touhy regulations,

there is a specific procedure for the demand 2 of IRS records or information that must be followed

by all IRS officers, employees and contractors. 26 C.F.R. §301.9000-4. The IRS Touhy regulations

require authorization for disclosure of IRS records or testimony and set forth explicit prohibitions

on such authorizations under certain enumerated circumstances. 26 C.F.R. §301.9000-3. These IRS

Touhy regulations outline considerations specific to requests for IRS records or information. 26

C.F.R. §301.9000-2.

        As discussed herein, the United States necessarily followed the mandatory procedures under

the applicable DOJ and IRS Touhy regulations and applied the appropriate considerations as

explicitly set forth in the regulations in its decision to limit the testimony or production of

documents beyond the scope of what was authorized in its July 7, 2022 letter.

                                               III. ARGUMENT

        1.       The appropriate standard of review in this matter is the APA standard.

        The United States is not asserting sovereign immunity in the instant matter and seeking to

have Ms. Burdette file a separate action under the APA as would be necessary if the subpoenas

were issued in a state court matter with no jurisdiction over the United States. However, the United


2
 The IRS regulations define “demand” as any subpoena or other order of any court….or other notice of, request for, or
service for discovery in a matter before any court, administrative agency or other authority. 26 C.F.R. §301.9000-1.
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States asserts that the proper standard of review is the “arbitrary and capricious” standard set forth

under the APA nonetheless.

       The standard of review when a private litigant causes the federal court to issue a subpoena

to a federal employee is unsettled; however, this District Court and others in the Fifth Circuit have,

after extensive review and analysis of this issue, adopted the arbitrary and capricious standard of

the APA in reviewing the United States’s compliance with a subpoena issued pursuant to Touhy

regulations. See Beckett v. Serpas, No. 12-910, 2013 WL 796067 at *7-8 (E.D.La. March 4,

2013)(adopting the APA standard more deferential to the Department); Samadian v. Meade, No.

3:10-cv-851-P, 2011 WL 13180181 *7-8 (N.D.Tex. Dec. 22, 2011)(holding that a federal court’s

jurisdiction over an administrative agency to review that agency’s Touhy decisions within the same

litigation and is limited to and defined by APA review of the challenged actions)(citing Hasie v.

Office of the Comptroller of the Currency of the U.S., 633 F.3d 361, 365 (5th Cir. 2011); Butowsky

v. Folkenflik, No. 4:18-cv-442, 2019 WL 12373861 *11 (E.D.Tex. Dec. 13, 2019)(applying the

APA standard in review of the Department’s Touhy decision refusing to produce FBI documents in

response to a subpoena duces tecum); Palmer v. Hawkins, No. 09-MC-0019, 2009 WL 3230750 at

*3(W.D.La. Oct. 2, 2009)(stating that although the Fifth Circuit had not made any clear choice on

the issue, it was “persuaded that the courts that have applied the APA standard have the better

argument”); but see U.S. v. Rodgers, No. 4:20-cr-00358, 2022 WL 1044013 (E.D.Tex. April 8,

2022)(applying the “normal substantive law of privilege and rules of evidence as the standard of

review on a motion to quash subpoenas pursuant to Touhy, but ultimately granting the United

States’s motion to quash testimony of DOJ attorneys).

       As Burdette aptly notes, the Fifth Circuit does not appear to have issued a decision

expounding on how Touhy operates in a federal criminal prosecution where the defense has

complied with the applicable Touhy regulations. Accordingly, Burdette relies heavily on the District
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Court of Puerto Rico’s opinion in U.S. v. Fuentes-Correa to assert that the appropriate standard of

review is 17 and not the APA standard. Notably, as opposed to the instant matter, the United States

in Fuentes-Correa refused to produce the case agent in a detention hearing and requested to

proceed by proffer, which is what promoted the subpoena in that matter. No. 13-cr-71, 2013 WL

588892 *8 (D.P.R. Feb. 13, 2013). In the instant matter, as will be discussed below, the case agent

for Ms. Burdette’s criminal prosecution is not being subpoenaed, nor has the United States

unreasonably refused to authorize any testimony of the two subpoenaed parties, but rather simply

limited the scope of the testimony and disclosures as required by the applicable Touhy regulations.

       Furthermore, the Fifth circuit has declared that the Justice Department regulations for

subpoenaing witnesses are valid and mandatory. U.S. v. Wallace, 32 F.3d 921, 929 (5th Cir. 1994).

In Wallace, a criminal matter the United States rested its case without calling two federal agents.

The defendants wanted to question those witnesses but were prohibited from doing so by the trial

court because they had not complied with the Touhy requirements prior to trial. While the United

States is not disputing that Burdette has complied with Touhy, the Fifth Circuit’s discussion of the

right to call witnesses versus the value of other legitimate interests is pertinent here. “Like many

other constitutional rights, the right to call witnesses is not absolute. The right to present relevant

testimony may, in appropriate cases, bow to accommodate other legitimate interests in the criminal

trial process”. Id. (cited by U.S. v. Vander Luitgaren, No. 6:07-cr-211-orl-22, 2008 WL 2610465

(M.D.Fl. June 30, 2008 (quashing a subpoena for AUSA testimony in a criminal matter pursuant to

appliable Touhy regulations)).

       Simply put, although there is no clear controlling decision in the 5th Circuit on which

standard of review should apply to judicial review when a private litigant issues a subpoena to a

federal employee, there is abundant support by District Court opinions in this circuit that the APA

standard of review should apply. Moreover, although this is a subpoena for trial testimony in a
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criminal proceeding in which the United States is a party, the situation is not analogous to the

Fuentes-Correa matter where the United States was refusing to produce the case agent to the

detriment of the criminal defendant. Instead, the defendant has subpoenaed to federal employees

who worked on another criminal matter, and the United States has agreed to produce the employees

to testify at trial, only limiting the scope of the testimony as necessary to comply with the

applicable Touhy regulations. Moreover, the Fifth Circuit has decided that Touhy regulations do

apply in this context and are mandatory, and that the right to call witnesses is not absolute. See

Wallace at 929. Accordingly, the United States should be afforded the deferential standard as set

forth in the APA when this court reviews the scope of the authorizations set forth in its Touhy

authorizations in the pending motion to compel.

       2.      The United States was neither arbitrary nor capricious in limiting its Touhy
               authorizations for disclosure of IRS information and documents.

               A. The applicable APA “arbitrary and capricious” standard of review.

       The appropriate standard of review under the APA is whether the federal-agency action was

“arbitrary, capricious, an abuse of discretion or otherwise not in accordance with the law”. 5 U.S.C.

§706(2)(A). Section 706 provides a narrow standard of review. See Butowsky, 2019 WL 12373861

*6-7 (citing Upsher-Smith Labs., 2017 WL 7369881, at *7, and citing Marsh v. Oregon Nat. Res.

Council, 490 U.S. 360, 378 (1989)). “An agency decision is arbitrary or capricious if [ ] the agency

... entirely failed to consider an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it could not be

ascribed to a difference in view or the product of agency expertise.” Id. When reviewing “agency

decisions under the arbitrary and capricious standard, we cannot substitute our judgment or

preferences for that of the agency. To affirm an agency’s action, we need only find a rational

explanation for how the [agency] reached its decision.” Patterson v. Def. POW/MIA Accounting

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Agency, 398 F. Supp. 3d 102, 125 (W.D. Tex. 2019) (quoting Associated Builders & Contractors of

Texas, Inc. v. Nat’l Labor Relations Bd., 826 F.3d 215, 224-25 (5th Cir. 2016) (citation omitted)).

“[T]here is a presumption that the agency’s decision is valid, and the plaintiff has the burden to

overcome that presumption by showing that the decision was erroneous.” Patterson, 398 F. Supp.

3d at 125 (quoting Tex. Clinical Labs, Inc. v. Sebelius, 612 F.3d 771, 775 (5th Cir. 2010)).

               B. The United States carefully considered and applied the necessary Touhy
               regulations in its response to Burdette’s subpoenas.

       The United States carefully considered the necessary Touhy regulations when reviewed and

responding to Burdette’s subpoenas for trial testimony and documents from the IRS. The applicable

Touhy regulations, as cited in the letter (Doc. 373-2) are 28 C.F.R. 26(b)(2) and 26 C.F.R.

§301.0009-2(a)(1).

       28 C.F.R. 26(b)(2) provides:

       Among the demands in response to which disclosure will not be made by any
       Department official are those demands with respect to which any of the following
       factors exist:

               (2) Disclosure would violate a specific regulation.

In this case, the specific regulation that would be violated by allowing SA Marable to testify about

personal and return information contained on the tax returns of non-parties to this particular

criminal prosecution is contained in the IRS regulations. The IRS Touhy regulations relating to

situations in which disclosures will not be authorized, provides:

       Authorizing officials shall not permit testimony or disclosure of IRS records or
       information in response to requests or demands if testimony or disclosure of IRS
       records or information would—

       (1) Violate a Federal statute including, but not limited to, sections 6103 or 6105 of
       the Internal Revenue Code (Code), the Privacy Act of 1974 (5 U.S.C. 552a), or a
       rule of procedure, such as the grand jury secrecy rule, Fed. R. Crim. P. 6(e);

26 C.F.R. §301.9000-2(a)(1) [emphasis added]. 26 U.S.C. § 6103(h)(4) generally limits the

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disclosure of returns and return information of persons who are not parties to the proceeding (third

parties). Section 6103(h)(4) provides that returns and return information may be disclosed in

judicial and administrative tax proceedings if:

         (A) the taxpayer is a party to the tax proceeding, or the tax proceeding arose out of,
         or in connection with, determining the taxpayer’s civil or criminal liability, or the
         collection of the taxpayer’s civil liability, in respect of any tax imposed under this
         title (i.e. the “party” test);

         (B) the treatment of an item reflected on the return is directly related to the
         resolution of an issue in the proceeding (i.e. the “item” test);

          (C) the return or return information directly relates to a transactional relationship
         between a person who is a party to the proceeding and the taxpayer whose return or
         return information would be disclosed which directly affects the resolution of an
         issue in the proceeding (i.e. the “transactional relationship” test).

26 U.S.C. §6103(h)(4).

         Burdette’s subpoenas seek tax returns or return information of Henry Timothy and those

non-parties that he prepared returns for. Even though Henry Timothy may be a witness in the

instant trial, he is not a party to this criminal matter. Accordingly, the specific non-party returns and

return information sought by Burdette cannot be produced pursuant to the exception contained in

Section 6103(h)(4)(A). Furthermore, the exceptions contained in the “item” test of 6103(h)(4)(b) 3

and the “transactional relationship” test of 6103(h)(4)(c) do not apply.




3
  The legislative history of the “item” test cited in Section 6103(h)(4)(B) provides, as examples, that the returns of
subchapter S corporations, partnerships, estates, and trusts may reflect the treatment of certain items which directly
relate to the resolution of the taxpayer’s liability because of some relationship of the taxpayer, such as shareholder,
partner, or beneficiary, with the corporation, partnership, estate, or trust. See S. REP. NO. 94-938, at 325 (1976), 1976-
3 C.B. (Vol. 3) 363 (emphasis added). The legislative history of the “transactional relationship” test provides, as an
example, that the treatment of a third-party buyer’s return regarding his purchase of a business would directly relate to
the seller’s tax liability resulting from the sale of the business. See S. REP. NO. 94-938, at 325 (1976), 1976-3 C.B.
(Vol. 3) 363. In this example, the buyer’s treatment of the purchase on his or her return would also satisfy the item test
of section 6103(h)(4)(B). The key factor in determining whose return information is at issue is not whose tax liability
may be affected by the data, but rather whose tax liability is under investigation by the IRS for which the information is
first obtained, received, or generated by the IRS. See Martin v. Internal Revenue Service, 857 F.2d 722, 726 (10th Cir.
1988).

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       Additionally, 26 C.F.R. 12.62(b)(5) and 26 C.F.R. 301.9002-1(a)(5) both explicitly prohibit

disclosure of information that would reveal investigatory records or information compiled for law

enforcement purposes that would permit interference with law enforcement proceedings or would

disclose investigative techniques and procedures, the effectiveness of which could thereby be

impaired. Burdette’s subpoenas seek testimony from both IRS employees related to the IRS

Scheme Development Center’s general standards and procedures for comparing tax filers Schedule

C deductions to “IRS expected deductions”. The is exactly the type of information the IRS has a

law enforcement interest in protecting under Section 301.9002-1(a)(5), as just about anyone who

files tax returns would love to know what specific standards the IRS has and what thresholds they

look at to consider something a “red flag” or a fraud indicator.

               C. The Unites States’ Touhy authorization for the scope of testimony of SA
               Marable and IA Coleman is reasonable and will provide Burdette the ability to
               support her defense that she seeks.

       The United States authorized the testimony of SA Marable and IA Coleman as needed for

Burdette to support her anticipated trial defense. The United States spoke to both IRS employees

and endeavored to specifically identify those requested topics about which they have personal

knowledge in order to authorize any and all testimony that is proper under the Touhy regulations.

The Touhy authorization specifically allows the IRS employees to testify about their own personal

knowledge related to their investigation of Henry Timothy, including their respective reviews and

investigations of the non-party tax returns, as requested by Burdette. The authorization also allows

IA Coleman to testify as necessary to authenticate files in the Scheme Development Center’s

possession which have already been produced during discovery in this proceeding. The main

limitation under the applicable Touhy regulations is that SA Marable and IA Coleman may only

testify about what they reviewed in their investigation generally, but not as to the specifics on the

returns or return information of non-parties because disclosure of returns or return information of a
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taxpayer that is not a party to this proceeding is directly prohibited pursuant to 28 C.F.R.

§16.26(b)(2), 26 C.F.R. §301.0009-2(a)(1), and 26 U.S.C. §6103. Accordingly, the United States

Touhy authorizations and the limitations contained therein were not arbitrary and capricious, and

Burdette’s motion to compel further testimony should be denied.

               D. The Unites States’ Touhy authorization related to the subpoena duces tecum
               was not arbitrary or capricious.

       Burdette seeks to obtain the “entire file” from the Scheme Development Center related to IA

Coleman’s analyses of Henry Timothy’s tax return filings – for himself and as a preparer. To date,

and as noted in the United State’s Touhy response, IA Coleman’s analysis of Timothy’s returns

from 2013-2016 have been produced in discovery, as well as the Henry Timothy “preparer

information reports”. Accordingly, these documents fall under the Touhy exception to the

disclosure protection as “IRS information or records available from other sources” pursuant to 26

C.F.R. §301.9000-2(c)(5). IA Coleman has been authorized to testify as necessary to authenticate

those documents. The United States confirmed with counsel for Burdette that no other responsive

analyses relevant to those two subpoena requests exist. (Doc. 373-4). The United States also

confirmed with counsel for Burdette that the only other materials related to Henry Timothy were

emails (not analyses) between IA Coleman and SA Marable, which are not being disclosed as

disclosure is prohibited under law enforcement privilege contained in the applicable Touhy

regulations as cited in its Touhy response. (Doc. 373-4). Finally, the United States cannot produce

general (and internal) IRS documents related to the “Scheme Development Center’s standards for

comparing a tax preparer’s Schedule C deductions to IRS expected deductions per occupation

category” as this is explicitly prohibited under the law enforcement privilege contained in 28 C.F.R.

16.26(b)(5) and 26 C.F.R. 301.9000-2(c)(5). Furthermore, because the United States has authorized

testimony of both SA Marable and IA Coleman related to their specific investigation of the Henry

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Timothy matter in this criminal trial, the risk of impairment to the IRS’s general ability to analyze

and investigate tax returns for fraud indicators by disclosing responsive information publicly far

outweighs any alleged harm to Burdette’s trial defense. Accordingly, the United States Touhy

response to Burdette’s subpoena for documents from the IRS Scheme Development Center and the

limitations cited therein were not arbitrary and capricious, and Burdette’s motion to compel further

documents should be denied.

                                         IV. CONCLUSION

       For all of these reasons, the United States prays that the Court deny Ms. Burdette’s Motion

to Compel in its entirety.

         Respectfully submitted this 14th day of July, 2022.

                                                          BRANDON B. BROWN
                                                          UNITED STATES ATTORNEY

                                                          By: s/ Shannon T. Brown
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                                   CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on July 14, 2022, a copy of the foregoing Response to Motion

to Compel was filed electronically with the Clerk of Court using the CM/ECF system. Notice of

this filing will be sent to all counsel of record by operation of the Court’s electronic filing system. I

also certify that there are no non-CM/ECF participants to this action.


                                                        s/ Shannon T. Brown
                                                        SHANNON T. BROWN (#32366)
                                                        Assistant United States Attorney
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